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    6 Attorneys for Permanent Receiver ROBB
      EVANS & ASSOCIATES LLC
    7
    8                                    UNITED STATES DISTRICT COURT
    9                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   10
   11 FEDERAL TRADE COMMISSION,                        Case No. 2:15-cv-03107-PA-AJW
   12                       Plaintiff,                 NOTICE OF MOTION AND
                                                       MOTION FOR AN ORDER
  13 v.                                                APPROVING THE RECEIVER'S
                                                       FINAL REPORT AND GRANTING
  14 SALE SLASH LLC, a California                      RELATED RELIEF;
     limited liability company; PURISTS                MEMORANDUM OF POINTS AND
  15 CHOICE LLC, a California limited                  AUTHORITIES AND
     liability company; APEX CUSTOMER                  DECLARATIONS OF BRICK
  16 CARE~LLC,"a California limited                    KANE, CRAIG A. WELIN, AND
     liability company; PENWAY LLC, a                  HAL D. GOLDFLAM
  17 California limited liability company;
     RENVEE LLC, a California limited                  Date: April 10,2017
  18 liability company; OPTIM PRODUCTS                 Time: 1:30 p .m.
     LLC, a California limited liability               Place: Courtroom 9A, First Street
  19 company; EDGAR BABAYAN,                                  Courthouse
     individually; ARTUR BABAYAN,                      Judge: Hon. Percy Anderson
  20 individually and as an owner and
     mana ger of SALE SLASH LLC and
  21 PURISTS CHOICE LLC; and VAHE
     HAROUTOUNIAN, also known as
  22 VAHEH HAROUTOUNIAN, also
     doing business as PRISMA PROFITS,
  23 individually and as manager of SALE
     SLASH LLC, and owner of OPTIM
  24 PRODUCTS LLC,
  25                        Defendants.
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  28
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   1             TO:       THE HONORABLE PERCY ANDERSON, UNITED STATES
   2 DISTRICT JUDGE, ALL PARTIES IN INTEREST, AND ALL KNOWN
   3 CREDITORS:
   4             PLEASE TAKE NOTICE that on April 10, 2017, commencing at 1:30 p.m., or
   5 as soon thereafter as the parties may be heard in Courtroom 9A of the above-entitled
   6 Court located at First Street Courthouse, 350 W. 1st Street, 9th Floor, Los Angeles,
   7 California 90012, Robb Evans & Associates LLC, the Permanent Receiver in the
   8 above-entitled action ("Receiver"), will and hereby does move the Court for an order:
   9             1.        Approving the Receivership Administration Expenses and Fund Balance
  10 From Inception (April 27, 2015) to November 30, 2016 and Estimate to Close ("Final
  11 Report"), a copy of which is attached as Exhibit 1 to the accompanying Declaration of
  12 Brick Kane ("KaneDecl."), and otherwise approving and confirming all of the actions
  13 taken by the Receiver and its accountants, attorneys, employees, and agents in
  14 connection with the Receiver's administration of the receivership estate;
  15             2.       Approving and authorizing the Receiver to pay from receivership funds the
  16 fees and expenses of the Receiver in the amount of $26,439.77 (fees in the amount of
  17 $10,572.30, plus expenses in the amount of $15,867.47), and the fees and expenses of
  18 its counsel Frandzel Robins Bloom & Csato, L.C. ("Frandzel"), in the amount of
  19 $27,014.25 (fees in the amount of $26,888.74, plus expenses in the amount of $125.51)
  20 for the period August 1, 2016 through November 30, 2016 ("Final Period"), and
  21 authorizing the Receiver to pay estimated closing fees and expenses of the Receiver and
  22 Frandzel in the total sum not to exceed $26,670.65, with any unused portion of the
  23 estimated closing fees and expenses to be distributed to Plaintiff Federal Trade
  24 Commission;
  25             3.        Authorizing and directing the Receiver, pursuant to Section X.B.9 of the
  26 Court's Preliminary Injunction entered May 12, 2015. (Dkt. No. 33), to make a pro
  27 rata distribution to certain pre-receivership creditors of one or more of the Receivership
  28 Defendants as specified in the Receiver's Proposed Creditor Distributions (Kane Decl.,
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               1 Exh. 2);
               2             4.        Authorizing and directing the Receiver to pay the remaining funds of the
               3 receivership estate in the amount of $2,993,714.66 (plus any unused portion of the
               4 estimated closing fees and expenses of the Receiver and Frandzel) to Plaintiff Federal
               5 Trade Commission;
               6             5.       Authorizing the Receiver and its professionals to abandon and/or destroy,
               7 at the expense of the receivership estate, any and all records relating to the receivership,
               8 or to this action, in the Receiver's possession, custody, or control, if not claimed by a
               9 party entitled thereto, in writing, within thirty (30) days of entry of the order; provided,
u             10 however, that any party claiming such records must pay all costs of taking possession
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o g t-.       11 and delivery of such records, and provided, further, that if conflicting claims are made
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•^            12 to such records within said thirty (30) days, then the Receiver will hold the records as to
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s q- §        13 which such conflicting claims have been made until the claims are resolved by the
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   |o &       14 Court and shall then dispose of such records as directed by the Court1;
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~ a «3                  6.    Terminating the receivership, discharging Robb Evans & Associates LLC
QpQ COX -JM                                                                     #                 ^
& g|          16 from its duties as Receiver, and releasing Robb Evans & Associates LLC, its deputies,
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QN OH 3       17 members, officers, agents, employees, attorneys, accountants and representatives from
£
3             18 any and all duties, responsibilities, and liabilities in connection with the receivership
              19 estate and this action, including liabilities that were asserted and/or could have been
              20 asserted in the receivership estate and in connection with the Receiver's administration
              21 of the receivership estate effective upon the Receiver's distribution of the net fund
              22 balance of the receivership estate in the manner ordered by the Court; and
              23            7.        Providing for such other and further relief as this Court may deem just and
              24 proper
              25
              26         Counsel for the Receivership Defendants has already notified that the
                             1

                 Receivership Defendants will pick up their files, including the cabinets, from the
              27 Receiver.
              28
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                         PLEASE TAKE FURTHER NOTICE that this Motion is made pursuant to Local
            2 Rules 66-7 and 66-8 and is based upon this Notice of Motion, the accompanying
            3 Memorandum of Points and Authorities and Declarations of Brick Kane, Craig A.
            4 Welin, and Hal D. Goldflam (and Exhibits thereto), the pleadings, records and files of
            5 this case of which the Receiver requests the Court take judicial notice; and all further
            6 pleadings, oral and documentary evidence and arguments of counsel as may be
            7 presented by the Receiver at or before the time of the hearing on the Motion.
            8            PLEASE TAKE FURTHER NOTICE that, while a copy of this Notice of Motion
            9 and Motion, the accompanying Memorandum of Points and Authorities and
u          10 Declarations of Brick Kane, Craig A. Welin, and Hal D. Goldflam (and Exhibits
O          11 thereto) are posted and may be reviewed on the Receiver's website at
H §M
CO 7       12 http://www.robbevans.com/find-a-case/casepage/sale-slash-LLC-et-al-receiver, each
C$ S1 O
           13 party herein and all known creditors of one or more of the receivership defendants is
° II°                                                                                          .
3 s o s,   14 being served with a copy of same as reflected in the accompanying Proof of Service.
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           15        PLEASE TAKE FURTHER NOTICE that this Motion is made following the
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o a
           16 conference of counsel pursuant to Local Rule 7-3. Based on the conference of counsel,
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Q 2°
K          17 the Receiver is informed that none of the parties to this action intends to oppose this

2          18 Motion.
P-i
           19
           20 DATED: March 9, 2017                  FRANDZEL ROBINS BLOOM & CSATO, L.C.
                                                    CRAIG A. WELIN
           21
                                                    MICHAEL GERARD FLETCHER
           22
                                                    By: /s/ Craig A. Welin
           23
                                                        CRAIG A. WELIN
           24                                           Attorneys for Permanent Receiver ROBB
                                                        EVANS & ASSOCIATES LLC
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